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                                                               8   Attorneys for Plaintiff Lindbergh and Shine LLC
                                                               9                                   UNITED STATES DISTRICT COURT
                                                              10                                       DISTRICT OF NEVADA
                                                              11   LINDBERGH AND SHINE LLC, a Delaware                 Case No.: 2:17-cv-3082-APG-PAL
                                                                   limited liability company,
                                                              12                                                       PLAINTIFF’S RESPONSE TO NOTICE
                   Main (702) 541-7888 • Fax (702) 541-7899




                                                                                     Plaintiff,                        REGARDING INTENTION TO DISMISS
                      7495 West Azure Drive, Suite 233




                                                              13
GIBSON LOWRY LLP




                                                                                                                       (ECF NO. 8)
                           Las Vegas, Nevada 89130




                                                                          v.
                                                              14
                                                                   PWT GROUP A/S, a Denmark entity; OLE
                                                              15   KOCH, an individual; and ASOS.COM
                                                                   LIMITED, a United Kingdom entity,
                                                              16
                                                                                     Defendants.
                                                              17

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                                                              20          Plaintiff Lindbergh and Shine LLC (“Plaintiff”), by and through its counsel of record,

                                                              21   Gibson Lowry LLP, herein responds to this Court’s notice regarding intention to dismiss (the

                                                              22   “Notice”; ECF No. 8).

                                                              23          This response is based on the Memorandum of Points and Authorities incorporated

                                                              24   herein, on the pleadings and papers already of record in this matter, on oral argument of counsel

                                                              25   to be adduced at this Court’s hearing, if any, and on any other matter of which this Court wishes

                                                              26   to take notice.

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                                                               1                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                               2   I.      LEGAL BASIS
                                                               3           The ninety-day time limit for service established by Fed. R. Civ. P. 4(m) does not, by its
                                                               4   terms, apply to Defendants, who are all located in either Denmark or the United Kingdom. Fed.
                                                               5   R. Civ. P. 4(m) expressly “does not apply to service in a foreign country under Rule 4(f)…” Fed.
                                                               6   R. Civ. P. 4(f) applies to service of individuals, and, by cross-reference from Fed. R. Civ. P.
                                                               7   4(h)(2), entities who are to be served “at a place not within any judicial district of the United
                                                               8   States.” Lucas v. Natoli, 936 F.2d 432 (9th Cir. 1991), makes clear that former Fed. R. Civ. P.
                                                               9   4(j) (now 4(m)) simply made the then-120-day, now-90-day service requirement “inapplicable to
                                                              10   service in a foreign country.” Ibid.
                                                              11   II.     FACTS
                                                              12           Plaintiff filed the Complaint in this matter on December 19, 2017. ECF No. 1.
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                                                              13   Defendants PWT Group A/S and Ole Koch (“Mr. Koch”) are citizens of Denmark—respectively,
GIBSON LOWRY LLP
                           Las Vegas, Nevada 89130




                                                              14   an entity that is to be served “at a place not within any judicial district of the United States” as
                                                              15   contemplated by Fed. R. Civ. P. 4(h)(2), and an individual. Id. at ¶ 3-4. Defendant ASOS.com
                                                              16   Limited is a citizen of England and an entity that is to be served “at a place not within any
                                                              17   judicial district of the United States.” Id. at ¶ 5.
                                                              18   III.    STATUS OF SERVICE
                                                              19           Plaintiff remains in the process of effectuating service pursuant to the Hague Convention
                                                              20   on Defendants, who are citizens of other countries. The Hague Convention requires submission
                                                              21   by mail of the Summons and Complaint—which, in the case of PWT Group A/S and Mr. Koch,
                                                              22   required translation into Danish—to the central authorities of England and Denmark, following
                                                              23   which those countries’ court apparatuses will effectuate service. Upon receipt of returns of
                                                              24   service from those overseas central authorities, Plaintiff will promptly file same. If ordered by
                                                              25   this Court, Plaintiff will provide status reports regarding such service overseas.
                                                              26   IV.     CONCLUSION
                                                              27           For the reasons set forth herein, Plaintiff respectfully requests that this Court allow
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                                                                   Case 2:17-cv-03082-APG-PAL Document 9 Filed 03/28/18 Page 3 of 3



                                                               1   Plaintiff’s claims to remain open under the authority of Fed. R. Civ. P. 4(m). Plaintiff will
                                                               2   provide status reports to this Court as directed.
                                                               3          Respectfully submitted this 28th day of March, 2018.
                                                               4                                                   GIBSON LOWRY LLP
                                                               5
                                                                                                                   /s/ J.D. Lowry.
                                                               6                                             By    STEVEN A. GIBSON, ESQ.
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